                                                                                         FILED
                                                                                2019 Sep-12 AM 04:11
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA



             IN THE UNITED STATES DISTRICT COURT FOR THE
         NORTHERN DISTRICT OF ALABAMA SOUTHERN DIVISION

    DAVID MILLAN, an individual,

               Plaintiff,

    v.                                                    2:19-CV-01131-ACA

    EL POBLANO MEXICAN
     RESTAURANT, INC.,
    a domestic corporation; and
    FIDEL CASTRO, an individual,

               Defendants

 DISCLOSURE OF CORPORATE AFFILIATIONS, FINANCIAL INTEREST,
      AND BUSINESS ENTITY CITIZENSHIP FOR DEFENDANT
          EL POBLANO MEXICAN RESTAURANT, INC.

         Pursuant to Federal Rule of Civil Procedure 7.1 and L.R. 3.4, EL

POBLANO MEXICAN RESTAURANT, INC. makes the following disclosures

concerning parent companies, subsidiaries, partners, limited liability entity

members and managers, affiliates, and similar entities, as well as unincorporated

associations or similar entities.

[INSTRUCTIONS: Check which are applicable and fill in any required

information.]

         This party is an individual.



                                           1
      This party is a publicly held corporation or other publicly held entity.

      This party has parent corporation(s).

      If yes, identify all parent corporations, including grandparent and great-
      grandparent corporations below:

      Ten percent or more of the stock of a party is owned by a publicly
held corporation or other publicly held entity.

      If yes, identify all such owners:

      Another publicly held corporation or another publicly held entity has
a direct financial interest in the outcome of the litigation.

      If yes, identify all corporations or entities and the nature of their
      interest:

      This party is a limited liability company or limited liability partnership.

      If yes, identify each member of the entity and the member’s state
      of citizenship:

      This party is an unincorporated association or entity.

      If yes, identify the members of the entity and their states of citizenship:

      Filed this the 12thth day of September 2019.

                                              /Lewis Page//
                                              Lewis Page, ASB 2860 P46L
                                              Attorney for EL POBLANO
                                              MEXICAN RESTAURANT, INC.


                              Certificate of Service

       I hereby certify that on the 12th day of September 2019, I will
 electronically file the foregoing with the Clerk of Court using the CM/ECF

                                          2
 system, which will then send a notification of such filing to the following:

      Freddy Rubio, Esq.
      Charline Whyte, Esq.
      RUBIO LAW FIRM, P.C.
      438 Carr Avenue, Suite I
      Birmingham, AL 35209

And I hereby certify that I will mail the document by U.S. mail to the following
non-filing user: None.

                                      /Lewis Page/
                                      Lewis Page
                                      Counsel




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